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     Attorneys for Plaintiff
 6   HEATHER M. STANGEL
                             IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF NEVADA
 8
                                                     )   Case No. 2:18-cv-01508-RFB-PAL
     HEATHER M. STANGEL,                             )
 9
                                                     )
                           Plaintiff,                )
10                                                       NOTICE OF DISMISSAL WITH
                                                     )
     v.                                                  PREJUDICE
                                                     )
11
                                                     )
     CASH 1, LLC,                                    )
12
                           Defendant.                )
                                                     )
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            Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), CASH 1, LLC, the Defendant, not having filed
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     or served answers or motions for summary judgment; the Plaintiff in the above-entitled action, as
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     to CASH 1, LLC requests, authorizes, and directs the Clerk of the Court to enter a judgment of
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     dismissal with prejudice, each party to bear its own attorney’s fees and costs.
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            Dated:          September 5, 2018
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                                           Respectfully submitted,
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                                           By:     /s/David H. Krieger, Esq.
20                                                 David H. Krieger, Esq. (Nevada Bar No. 9086)
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